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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             HELENA DIVISION

 UNITED STATES OF AMERICA,                   CR 20-12-H-BMM

                         Plaintiff,

             vs.                             ORDER TO ISSUE WARRANT

 CHASE ZACHERY TAYLOR ESTES,

                         Defendant.



      Based upon the United States’ motion, and good cause appearing in support

thereof,

      IT IS HEREBY ORDERED that the summons directing Chase Zachery

Taylor Estes to appear for arraignment on November 17, 2020, at 2:00 p.m. is

QUASHED and the arraignment is VACATED.

      IT IS FURTHER ORDERED that the Clerk of Court issue an arrest warrant

for Chase Zachery Taylor Estes.

      Dated this 2nd day of November, 2020.




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